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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    JOHN LAKE,                                        No. 2:20-CV-2522-DMC-P
12                       Plaintiff,
13           v.                                         ORDER
14    RALPH DIAZ, et al.,
15                       Defendants.
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17                  Plaintiff, a prisoner proceeding pro se, brings this civil rights action pursuant to

18   42 U.S.C. § 1983. Pending before the Court is Plaintiff’s motion for leave to proceed in forma

19   pauperis. ECF No. 3. Plaintiff has submitted a declaration that makes the showing required by 28

20   U.S.C. § 1915(a). The request to proceed in forma pauperis is, therefore, granted.

21                  IT IS SO ORDERED.

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23   Dated: December 30, 2020
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24                                                          DENNIS M. COTA
25                                                          UNITED STATES MAGISTRATE JUDGE

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